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                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                             JACKSONVILLE DIVISION

 UNITED STATES OF AMERICA

 v.                                                     CASE NO. 3:20-cr-86-TJC-JBT

 JORGE PEREZ, et al.

                                         ORDER
          THIS CAUSE is before the Court on Blue Cross Blue Shield of Georgia,

 Inc., Right Choice Managed Care, Inc., Blue Cross Blue Shield of Florida, Inc.,

 and Aetna, Inc.’s (collectively the “Non-Party Payors”) Motion for Entry of

 Amended Protective Order (“Motion”) (Doc. 391), Defendant Aaron Durall’s

 Response to Non-Party Payors’ Motion for Protective Order (“Durall’s Response”)

 (Doc. 392), United States’ Response to Non-Party Payors’ Motion for Protective

 Order (“Government’s Response”) (Doc. 393), Defendant James F. Porter, Jr.’s

 Response to Non-Party Insurance Companies’ Motion for Protective Order

 (“Porter’s Response”) (Doc. 396) (collectively “Responses”), and Unopposed

 Amended Motion for Leave to File Reply to Defendants’ Responses to Non-Party

 Payors’ Motion for Entry of Amended Protective Order (“Reply Motion”) (Doc

 399). For the reasons stated herein, the Motion is due to be GRANTED and the

 Reply Motion is due to be DENIED as moot.1

      In the Motion, the Non-Party Payors ask the Court to adopt their proposed


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        The Court will enter the Non-Party Payors’ proposed Amended Protective Order
(Doc. 391-1) as a separate order. However, the Court will add Paragraph 38 at the end of
the order: “Notwithstanding anything to the contrary herein, the Court retains the discretion
to determine that any filing, or portion thereof, may not be sealed.”
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Amended Protective Order (“Proposed Order”) (Doc. 391-1). They argue that

since the operative Protective Order (Doc. 172) was entered, Defendants and the

Government have continued to serve broad subpoenas on them seeking highly

sensitive, proprietary, and confidential business information, the use restrictions in

the operative Protective Order are insufficient to protect this information, and the

proposed changes are necessary to protect their confidential business information

as well as confidential patient information. (Doc. 391 at 1–2.) Upon review of the

Motion and Proposed Order, the Court finds that the Non-Party Payors have

satisfied the good cause standard set forth in Federal Rule of Criminal Procedure

16(d)(1) and that the Proposed Order is appropriate to protect the Non-Party

Payors’, as well as individual patients’, confidential information. See Fed. R. Crim.

P. 16(d)(1) (“At any time the court may, for good cause, deny, restrict, or defer

discovery or inspection, or grant other appropriate relief.”).

      The Government has indicated that it has no objections to the Proposed

Order and does not otherwise oppose the Motion. (See Doc. 393.) Defendants

Durall, Porter, Zaffuto, and Jorge Perez oppose the Motion (See Docs. 392, 393,

394, and 397);2 the remaining defendants have not filed any response to the

Motion.

      Durall’s Response sets forth specific objections to the Proposed Order.

First, Durall objects to the definitions of “Confidential Information” and

“Competitively Sensitive Information” in Paragraphs 4 and 5 of the Proposed


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        Defendants Zaffuto and Jorge Perez have adopted Durall’s response, and Jorge
Perez also adopted Porter’s response.
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Order. He questions whether these definitions will be sufficient to resolve any

disputes over the designation of the produced information as protected. (Doc.

391-1 at 1–2; Doc. 392 at 3–4.)           The Court finds that the definitions of

“Confidential   Information”   and    “Competitively   Sensitive   Information”   are

reasonably specific and capable of application. Moreover, Durall offers no better

alternative. Therefore, Durall’s first argument is rejected.

      Next, Durall objects to Paragraph 9 of the Proposed Order, which concerns

objections to designations of material as protected.       Durall contends that the

paragraph improperly places the burden of proving that a document is not

confidential on Defendants. (Doc. 392 at 3.) However, Defendants will have

access to any allegedly protected information, and the Non-Party Payors must

engage in a good faith conferral process to resolve any disputes.         Moreover,

although the Non-Party Payors are the alleged victims in this case, they are still

non-parties; therefore, they should not be unduly burdened. Cf. Fed. R. Civ. P.

45(d)(1) (“A party or attorney responsible for issuing and serving a subpoena must

take reasonable steps to avoid imposing undue burden or expense on a person

subject to the subpoena.”) The authority Durall cites in support of his contention

that the burden of proof is on the party producing protected documents is

inapposite. (See Doc. 392 at 4–5.) None of those cases involves protective

orders applied to documents produced by non-parties pursuant to Rule 17(c)

subpoenas. (See id.) Therefore, Durall’s second argument is rejected.

      Finally, Durall’s objection to Paragraph 10 of the Proposed Order is also

without merit. There, Durall contends that the defense should be allowed to use
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the material produced by the Non-Party Payors not only in this case but also in

related civil litigation; however, as the Non-Party Payors point out in the Motion,

“the rules and judge in any . . . ‘related’ civil litigation will determine the limits of

discovery in those actions . . . .”     (Doc. 391 at 6–7.)      Moreover, documents

produced by the Non-Party Payors pursuant to Rule 17(c) are for trial purposes––

not discovery.    See U.S. v. Cory, Case No. 3:20-cr-99-MMH-JRK, 2021 WL

3709797, at *1 (M.D. Fla. Aug. 20, 2021) (quoting U.S. v. Nixon, 418 U.S. 683,

698–99 (1974)) (“Rule 17(c) ‘was not intended to provide a means of discovery for

criminal cases’; rather, ‘its chief innovation was to expedite the trial by providing a

time and place before trial for the inspection of subpoenaed materials.’”).

Therefore, the Court finds it appropriate that the use of the documents produced

by the Non-Party Payors be restricted to the trial of this matter only.

      The Court has also considered Porter’s Response and finds Porter’s

extensive and detailed objections to be without merit.3

      Accordingly, it is ORDERED:

      1. The Motion (Doc. 391) is GRANTED.

      2. The Proposed Order (Doc. 391-1), as modified, will be entered.

      3. The Reply Motion (Doc. 399) is DENIED as moot.

          DONE AND ORDERED in Jacksonville, Florida on September 8, 2021.




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         Additionally, Porter’s Response fails to comply with the typography requirements
of Local Rule 1.08. Nevertheless, the Court has considered it. However, any future filing
not in compliance with the Local Rules is subject to being stricken.
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Copies to:

Counsel of Record




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